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     FILED
 September 5, 2023
  KAREN MITCHELL        United States Court of Appeals
CLERK, U.S. DISTRICT
      COURT                  for the Fifth Circuit                              United States Court of Appeals
                                                                                         Fifth Circuit
                                            ___________                                FILED
                                                                               September 1, 2023
                                           No. 22-10244
                                                                                  Lyle W. Cayce
                                       Consolidated with                               Clerk
                                           No. 22-10718
                                         Summary Calendar
                                          ___________

                Shanelle Jenkins, as surviving spouse, and Representative of
                the Estate of Robert Geron Miller,

                                                                     Plaintiff—Appellant,

                                                 versus

                Tarrant County Sheriff’s Office; Bill E. Waybourn,
                in his official capacity as Sheriff of Tarrant County, Texas;
                Tarrant County; Texas Department of Public Safety,
                Texas Rangers Division,

                                                       Defendants—Appellees.
                              ______________________________

                              Appeal from the United States District Court
                                  for the Northern District of Texas
                                        USDC No. 4:21-CV-910
                              ______________________________
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                                        No. 22-10244
                                      c/w No. 22-10718




                 ON PETITION FOR PANEL REHEARING

   Before Jones, Haynes, and Oldham, Circuit Judges.
   Per Curiam: *
          IT IS ORDERED that the petition for panel rehearing is
   GRANTED for the purpose of ruling on an issue overlooked in the original
   opinion. The original opinion is WITHDRAWN, and the following opinion
   is SUBSTITUTED:
          Plaintiff Shanelle Jenkins’s husband unexpectedly passed away while
   he was in the Tarrant County jail.             Jenkins brought suit against the
   defendants—Tarrant County, the Tarrant County Sheriff’s Office, Bill
   Waybourn in his official capacity as sheriff of Tarrant County, and the Texas
   Rangers Division of the Texas Department of Public Safety—on his behalf.
   Although her complaint admitted that she did not know the cause of, or
   circumstances surrounding, her husband’s death, she nevertheless asserted
   claims under 42 U.S.C. § 1983 for “wrongful death,” “excessive force,”
   “inadequate training,” and for an “official policy or custom,” as well as a
   few state law claims.
          The defendants moved to dismiss, and the district court warned
   Jenkins twice that her pleadings were “threadbare recitals of a cause of
   action’s elements, supported by mere conclusory statements.” Ashcroft v.
   Iqbal, 556 U.S. 662, 663, 129 S. Ct. 1937, 1940 (2009). Jenkins amended her
   complaint, but the changes merely added a new defendant and did nothing to
   remedy the problems. The defendants again moved to dismiss. Jenkins’s



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              Pursuant to 5th Circuit Rule 47.5, the court has determined that this opinion
   should not be published and is not precedent except under the limited circumstances set
   forth in 5th Circuit Rule 47.5.4.




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   response asked for leave to amend her complaint a second time, promising
   that this time she would rectify the deficiency.
          The district court refused to allow Jenkins to amend the complaint a
   second time. It dismissed Jenkins’s federal claims with prejudice and, also
   declining to exercise supplemental jurisdiction over the remaining state law
   claims, dismissed the state law claims without prejudice. It later denied her
   Rule 60(b) motion for relief from judgment, which she brought after
   presenting 252 pages of public records that she claims had been improperly
   held from her until after the final judgment. She appeals the district court’s
   (a) refusal to allow her to amend her complaint for a second time and (b) the
   denial of her Rule 60(b) motion for relief.
          The district court did not abuse its discretion by denying Jenkins leave
   to amend her complaint. “Except as authorized by the first sentence of Fed.
   R. Civ. P. 15(a) for one amendment before service of a responsive pleading, a
   complaint may be amended only by leave of the district court, and, while such
   leave is to be freely given when justice so requires, the decision is left to the
   sound discretion of the district court and will only be reversed on appeal
   when that discretion has been abused.” U.S. ex rel. Willard v. Humana
   Health Plan of Texas Inc., 336 F.3d 375, 387 (5th Cir. 2003). The district court
   concluded that allowing further amendment would be futile and cause undue
   delay, two justifications that this court has previously identified as
   “[p]ermissible reasons for denying a motion for leave to amend.” Cent.
   Laborers' Pension Fund v. Integrated Elec. Servs. Inc., 497 F.3d 546, 556 (5th
   Cir. 2007) (citation omitted). It also gave the plaintiff ample warning and
   time to fill out her threadbare complaint. After Jenkins failed to resolve the
   problem in a timely fashion, the district court could permissibly find that
   allowing further amendments was unwarranted. Moreover, the district court
   also justifiably denied the request to amend because it did not include the




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   proposed second amended complaint, thereby violating the district court’s
   local rules. See N.D. Tex. L. Civ. R. 15.1.
          Jenkin’s Rule 60(b) motion fares no better. Rule 60(b)(2) requires
   (1) newly discovered evidence, (2) that could not have been discovered with
   reasonable diligence in time for a Rule 59(b) motion, (3) and that is material,
   controlling, or would have produced a different result. See Lyles v. Medtronic
   Sofamor Danek, USA, Inc., 871 F.3d 305, 316 (5th Cir. 2017). Jenkins fails on
   all three counts. The evidence she attempts to present is (a) medical records
   that plaintiff had unfettered access to as the plaintiff’s decedent spouse,
   45 C.F.R. § 164.510(b)(5), and (b) other public records available under the
   Texas Public Information Act. Tex. Gov’t Code Ann. § 552.001 et seq. Given
   the ease of accessing this evidence, neither should count as “newly
   discovered.”     Moreover, given that Jenkins waited two years before
   beginning her investigation, she did not exercise due diligence. She claims
   that her proposed second amended complaint would have shown how the
   evidence is material or controlling—but this argument was apparently not
   made to the district court, which declined to sift through the evidence and
   determine for itself whether the evidence was material.         Rule 60(b)(3)
   requires showing clear and convincing evidence of “fraud . . .
   misrepresentation, or misconduct” on the part of the opposing party.
   Montgomery v. Hall, 592 F.2d 278 (5th Cir. 1979). Jenkins alleges the public
   records agency intentionally delayed in getting her the evidence; the agency
   disagrees. We find no reason to conclude that the district court abused its
   discretion by ruling that Jenkins lacked clear and convincing evidence of
   misconduct.
          The judgment of the district court is AFFIRMED.




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